Case 1:23-cr-00082-EK   Document 313     Filed 09/13/24    Page 1 of 1 PageID #: 9555



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------x

 UNITED STATES,

                                                          MEMORANDUM & ORDER
                                                             23-CR-82(EK)
                  -against-

 CARLOS WATSON,

                         Defendant.

------------------------------------x
ERIC KOMITEE, United States District Judge:

            The parties are respectfully directed to be prepared

to address the following questions at sentencing in this case

(and, if they choose, in their written submissions beforehand):

      1.    What proportion of the funds raised via the charged
            scheme flowed into the operations of Ozy Media’s
            business, versus flowing to Mr. Watson or other
            individuals?

      2.    Which federal criminal cases from the last (roughly)
            fifteen years presented the most comparable sets of
            sentencing factors, and why?



                                         /s/ Eric Komitee__________
                                       ERIC KOMITEE
                                       United States District Judge


Dated:      September 13, 2024
            Brooklyn, New York
